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                                               November 28, 2017

                                               RESPONSE TO COUNSEL’S LETTER
                                               APPLICATION TO BE RELIEVED
                                               AS COUNSEL
BY ECF
Honorable Robert W. Sweet
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

                      Re:     Maikel T. Shonouda v. Charles J. Nafie Architect, et. al.
                              Case No.: 17 Civ. 6098 (RWS) (SN)

Dear Judge Sweet,

        We are counsel to the plaintiff Maikel T. Shonouda. We write in response to the letter
application of defense counsel to be relieved. We do not oppose counsel’s application and
recommend that the court deem it a letter motion to be relieved without need for a formal
motion. Indeed, the docket reflects that the defendant was served with the complaint in August
and has repeatedly made (and broken) promises to respond to the complaint, delaying the
prosecution of this action. See, e.g., Docket 7 (our letter to the court requesting an extension of
time for defendants to retain counsel). There is an initial pretrial conference scheduled for
December 12th. We respectfully ask the court order defendants to show cause why a default
judgment should not be entered against them if they do not respond to the complaint and appear
at the scheduled conference, prepared to proceed in this matter. Like defense counsel, we are
greatly frustrated by defendants’ conduct in this matter.

       Thank you for your consideration of this matter.

                                               Respectfully submitted,
                                               Cilenti & Cooper, PLLC
                                            /s/ Peter H. Cooper
                                       By: ______________________
                                                Peter H. Cooper
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Hon. Robert W. Sweet
November 28, 2017
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cc:    Charles J. Nafie (Via E-mail:	cnafie@cjnaarchitects.com )
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       Daniel Ritson, Esq. (Via ECF)
